                            IN THE LINITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


I.]NITED STATES OI' AMERICA.                         )
                                                     )
               Plaintitl.                            )
                                                     )
       vs.                                           ) No. 4:22 MJ 7029 (SPM)
                                                     )
CHUNY ANN REED                                       ) SUBMITTED TO THE COURT AND
                                                     ) SIGNED BY RELIABLE ELECTRONIC
                                                     ) MEANS
               Del'endant.                           )

                MOTION FOR PRE.TRIAL DETENTION AND HEARING

       Comes now the United States of America, by and through its attomeys, Sayler A.

Fleming, United States Attomey for the Eastem District of Missouri, and James C. Delworth,

Assistant United States Attomey for said District, and moves the Court to order the defendant

detained pending triat, and further requests that a detention hearing be held three (3) days lrom

the date ofdefendant's initial appearance before the United States Magistrate pursuant to Title

18, United States Code, Section 3141, et seq.

       As and for its grounds, the Govemment states as follows:

       L       The delendant is charged with an offense, distribution ofcocaine base and

fentanyl, for which a maximum term of imprisonment of not more than twenty years is

prescribed in Title 21, United States Code, Sections 841(aX1). Accordingly, a rebuttable

presumption arises pursuant to Title 18, United States Code, Section 3142(e)(3) that there are no

conditions or combination ofconditions which will reasonably assure the appearance ofthe

defendant as required, and the safety ofany other person and the community.
        2.     The offense involved the distribution ofcrack cocaine and fentanyl which led to

several overdoses with at least one overdose resulting in serious bodily injury and another

overdose resulting in death.

        WHEREFORE, the Govemment requests this Cou( to order defendant detained prior to

trial, and further to order   a detention hearing three   (3) days from the date of defendant's initial

appearance.

                                                 Respectfully submined,


                                                 SAYLER A. FLEMING
                                                 LNITED STATES ATTORNEY


                                                 /s/ James C. Delworth
                                                 JAMES C. DELWORTH. #29702MO
                                                 ASSISTANT UNITED STATES ATTORNEY
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